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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF MICHIGAN

SOUTHERN DIVISION
:2:20-cr-20064
UNITED STATES OF Jadoo Murphy, Stephen J.
AMERICA, MJ: Patti, Anthony P-

Filed: 02-06-2020 At 10:41 AM
wae INDI USA V TEAVION ROBERTSON (LG)
Plaintiff, viuLlation:

18 U.S.C. § 922(0)

 

Vv.
TEAVION ROBERTSON,
Defendant.
/
INDICTMENT
THE GRAND JURY CHARGES:
COUNT ONE

18 U.S.C. § 922(0)
ILLEGAL POSSESSION OF A MACHINE GUN

On or about December 11, 2018 and December 12, 2018, in the
Eastern District of Michigan, the defendant, TEAVION ROBERTSON,
did knowingly possess a machinegun, that is, a device designed for the

purpose of converting semi-automatic Glock pistols into fully automatic

machineguns as defined in 26 U.S.C. § 5845(b) and 18 USC § 921(a)(23),

in violation of 18 U.S.C. §§ 922(0) and 924(a)(2).

 

 

 
 

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Forfeiture Allegations
18 U.S.C. § 924(d), 28 U.S.C. § 2461{c)

The allegations contained in Count One of this Indictment are

 

hereby re-alleged and incorporated by reference for the purpose of
alleging forfeiture pursuant to 18 U.S.C. § 924(d) and 28 U.S.C. § 2461(c).

Upon conviction of the offense charged in Count One of this
Indictment, the defendant shall forfeit to the United States, pursuant to
18 U.S.C. § 924(d) and 28 U.S.C. § 2461(c), any firearms and ammunition
involved in or used in the knowing commission of the offense, or any
firearm or ammunition intended to be used in any offense referred to in
18 U.S.C. § 924(d)(8), where such intent is demonstrated by clear and
convincing evidence.

Such property includes, but is not limited to, a money judgment in
an amount to be determined, representing the total value of all property
subject to forfeiture as described herein.

If any of the property described above, as a result of any act or

omission of the defendant—

a. cannot be located upon the exercise of due diligence;
b. has been transferred to, sold to, or deposited with a third
party;

C. has been placed beyond the jurisdiction of this Court;
d. has been substantially diminished in value; or

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e. has been commingled with other property that cannot
be divided without difficulty;

the United States of America shall be entitled to forfeit other property of
the defendant up to the value of the above described forfeitable property,

pursuant to 21 U.S.C. § 858(p) and 28 U.S.C. § 2461(c).

THIS IS A TRUE BILL

s/ Grand Jury Foreperson

 

 

GRAND JURY FOREPERSON
MATTHEW SCHNEIDER
United States Attorney
s/ Matthew Roth s/ Alyse Wu
Matthew Roth Alyse Wu
Assistant United States Attorney Assistant United States Attorney
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Dated: February 6, 2020
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Judge: Murphy, Stephen J.

MJ: Patti, Anthony P.

NOTE: it is the responsibility of the Assistant U.S. Attorney signing this form to cor INDI USA V TEAVION noc TSON (LG)

United States District Court Criminal Case Co
Eastern District of Michigan

 

 

 

Companion Case Information 3 Companion Case Number:

 

 

This may be a companion case based upon LCrR 57.10 (b}(4)": Judge Assigned:

 

 

 

 

LJ Yes No AUSA's Initials: A\\4/

Case Title: USAV. Teavion Robertson

 

County where offense occurred : Washtenaw

Check One: X]Felony a L.]Misdemeanor L]Petty
Indictment/ Information --- ne prior complaint.
¥_Indictment/ Information --- based upon prior complaint [Case number: 19-mj-30628 1
Indictment/ Information --- based Upon LCrkR 57.10 (d) [Complete Superseding section below].

Superseding Case Information

Superseding to Case No: Judge:

 

 

[_]|Corrects errors; no additional charges or defendants.
[_]Involves, for plea purposes, different charges or adds counts.
[_|Embraces same subject matter but adds the additional defendants or charges below:

Defendant name Charges Prior Complaint (if applicable)

 

Please take notice that the below listed Assistant United States Attorney is the attorney of record for

the above captioned case.
~
February 6, 2020 “A Arde Wh, Va
Date Alyse We

Assistant United States Attorney

211 W. Fort Street, Suite 2001

Detroit, Ml 48226-3277

Phone: 313-226-9589

Fax: 313-226-2372

E-Mail address: alyse.wu@usdoj.gov

Attorney Bar #; [L 6307357

1 Companion cases are matters in which it appears that (1) substantially similar evidence will be offered at trial, or (2) the same
or related parties are present, and the cases arise out of the same transaction or occurrence. Cases may be companion cases
even though one of them may have already been terminated.

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